        Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 1 of 20



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

GAYNELL COLBURN
1700 N. Gay Street, 2R-216
Baltimore, Maryland 21213,
individually and on behalf of all others
similarly situated,                            Case No. 1:19-cv-3454

       Plaintiff,

v.

THE ROSE GROUP, LLC
402 Jennings Mill Drive
Bowie, Maryland 20721

       Serve on:
       Ashley R. Williams
       402 Jennings Mill Drive
       Bowie, Maryland 20721

and

ROSE CASUAL DINING, L.P.
29 Friends Lane
Newton, Pennsylvania, 18940

       Serve on:
       Harold T. Rose
       29 Friends Lane
       Newton, Pennsylvania, 18940

and

DELAWARE VALLEY ROSE, L.P.,
29 Friends Lane
Newton, Pennsylvania, 18940

       Serve on:
       Harold T. Rose
       29 Friends Lane
       Newton, Pennsylvania, 18940,

       Defendants.




                                           1
            Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 2 of 20




                                 CLASS ACTION COMPLAINT

       Plaintiff, Gaynell Colburn, (“Plaintiff”), individually and on behalf of all others similarly

situated, brings this putative class action against The Rose Group, LLC, Rose Casual Dining, L.P.,

and Delaware Valley Rose, L.P., collectively doing business as Applebee’s Neighborhood Grill

and Bar, (“Defendants”), for declaratory and injunctive relief, attorneys’ fees, expenses and costs

pursuant to Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and its

implementing regulations (the “ADA”), averring as follows:

                                         INTRODUCTION

       1.       Plaintiff brings this civil rights class action on behalf of all others similarly situated

against Defendants for violations of the ADA in connection with Defendants’ failure to provide

and ensure equal access for individuals with mobility disabilities who patronize Defendants’

Applebee’s Neighborhood Grill and Bar restaurants (“Defendants’ restaurants”).

       2.       Despite passage of the ADA nearly thirty years ago, to this date, Defendants’

restaurants are not fully accessible to persons with mobility disabilities. Defendants have

discriminated, and continue to discriminate, against Plaintiff, and all others who are similarly

situated, by denying full and equal access to, and full and equal enjoyment of the goods, services,

facilities, privileges, advantages and accommodations at Defendants’ restaurants by failing to

provide accessible dining areas.

       3.       Defendants have also failed to make reasonable modifications to their policies,

practices, and procedures that are necessary to provide their goods, services, facilities, and

accommodations to individuals with mobility disabilities. By failing to undertake efforts to ensure

that no individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals, Defendants subject Plaintiff and those similarly situated to



                                                    2
            Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 3 of 20



discrimination, exclusion, and unequal treatment in violation of the ADA.

       4.       Defendants fail to provide individuals with mobility disabilities the most integrated

setting appropriate for them within their restaurants by providing unequal, different, and separate

benefits and by segregating and separating individuals with disabilities from individuals without

disabilities. Specifically, Defendants fail to provide individuals with mobility disabilities the

opportunity to choose the type of table to sit at and where to sit in a dining area through the

placement, orientation, and use of inaccessible dining surfaces, thereby providing Plaintiff and

those similarly situated the opportunity to participate in and benefit from Defendants’ goods,

services, facilities, and accommodations in a manner that is not equal to the experience that is

afforded to other individuals without disabilities.

       5.       Defendants will continue discriminating unabated unless and until enjoined as

Plaintiff requests. Accordingly, Plaintiff seeks declaratory and injunctive relief pursuant to

42 U.S.C. § 12188(a)(2) and 28 C.F.R. § 36.504(a), enjoining Defendants from continuing their

discriminatory conduct, including an order directing Defendants to make alterations to their

restaurants to make their restaurants fully accessible to and independently usable by people with

disabilities to the extent required by the ADA; an order requiring Defendants to make all

reasonable modifications in policies, practices, or procedures necessary to afford all offered goods,

services, facilities, privileges, advantages or accommodations to individuals with disabilities on a

full and equal basis; and a declaration determining that Defendants’ restaurants are in violation of

Title III of the ADA and its implementing regulations, as described in this Complaint; an award of

attorneys’ fees, expenses, and costs associated with pursuit of this litigation; and any other such

relief that this Court deems just and proper.

       6.




                                                  3
            Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 4 of 20



                                 THE PURPOSE OF THE ADA

       7.       Congress passed the ADA, in part, because it found that “historically, society has

tended to isolate and segregate individuals with disabilities, and such forms of discrimination…

continue to be a serious and pervasive social problem.” 42 U.S.C. § 12101(a)(2).

       8.       Congress also found that “individuals with disabilities continually encounter

various forms of discrimination, including outright intentional exclusion, the discriminatory

effects of architectural, transportation, and communication barriers, overprotective rules and

policies, failure to make modifications to existing facilities and practices, exclusionary

qualification standards and criteria, segregation, and relegation to lesser services, programs,

activities, benefits, jobs, or other opportunities”. 42 U.S.C. § 12101(a)(5)

       9.       When the ADA was signed into law by President George H.W. Bush, he declared:

“Together, we must remove the physical barriers we have created and the social barriers that we

have accepted. For ours will never be a truly prosperous nation until all within it prosper.”1

       10.      For almost thirty years, the ADA has been the central civil rights law protecting

people with disabilities, a group of Americans who are too often overlooked and undervalued. Like

other civil rights laws, the purpose of the ADA is clear: the eradication of discrimination. As one

legal scholar explained: “A single step in front of a store may not immediately call to mind images

of Lester Maddox standing in the door of his restaurant to keep blacks out. But in a crucial respect

they are the same, for a step can exclude a person who uses a wheelchair just as surely as a no-

blacks-allowed rule can exclude a class of people.” Samuel Bagenstos, The Perversity of Limited

Civil Rights Remedies: The Case of “Abusive” ADA Litigation, 54 UCLA L. Rev. 1, 23 (2006).




1EEOC.gov, Remarks of President George Bush at the Signing of the Americans with Disabilities
Act, available at: https://www.eeoc.gov/eeoc/history/35th/videos/ada_signing_text.html

                                                 4
          Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 5 of 20



        11.     Title III of the ADA and its implementing regulations broadly protect the rights of

individuals with disabilities to independently and equally access places of public accommodation.

        12.     The Supplementary Information to 28 C.F.R. § 36 explains, among other things:

“Some of the most frequently cited qualitative benefits of increased access are the increase in one’s

personal sense of dignity that arises from increased access and the decrease in possibly humiliating

incidents due to accessibility barriers. Struggling [to use a non-accessible facility] negatively

affect[s] a person’s sense of independence and can lead to humiliating accidents, derisive

comments, or embarrassment. These humiliations, together with feelings of being stigmatized as

different or inferior from being relegated to use other, less comfortable or pleasant elements of a

facility . . . all have a negative impact on persons with disabilities.”

                                  JURISDICTION AND VENUE

        13.     The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

        14.     Personal jurisdiction exists for Defendants because they own, operate, lease and/or

control restaurants located in Maryland.

        15.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) because this

is the judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s

claims occurred.

                                              PARTIES

        16.     Plaintiff Gaynell Colburn is, and at all times relevant for purposes of this action

was, a resident of Baltimore, Maryland.

        17.     Plaintiff is a person with a mobility disability who is limited in the major life

activity of walking, which has caused her to use a wheelchair for mobility. Plaintiff is therefore a




                                                   5
         Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 6 of 20



member of a protected class under the ADA, 42 U.S.C. § 12102(2), and the regulations

implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq.

       18.     Plaintiff is both a tester in this litigation and a consumer who wishes to access

Defendants’ goods and services. See, e.g., Nanni v. Aberdeen Marketplace, Inc., 878 F.3d 447,

457 (4th Cir. 2017); Civil Rights Educ. & Enf’t Ctr. v. Hosp. Props. Tr., 867 F.3d 1093, 1102 (9th

Cir. 2017); Colo. Cross Disability Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1211-12

(10th Cir. 2014); Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1334 (11th Cir. 2013); see

also Havens Realty Corp. v. Coleman, 455 U.S. 363, 372-74 (1982).

       19.     Defendant The Rose Group, LLC is a limited liability company organized under

Pennsylvania law, and is headquartered at 29 Friends Lane, Newton, Pennsylvania 18940.

       20.     Defendant Rose Casual Dining, L.P. is a limited partnership organized under

Pennsylvania law, and is headquartered at 29 Friends Lane, Newton, Pennsylvania 18940.

       21.     Defendant Delaware Valley Rose, L.P. is a limited partnership organized under

Pennsylvania law, and is headquartered at 29 Friends Lane, Newton, Pennsylvania 18940.

       22.     Defendants own, operate, lease and/or control Applebee’s restaurants throughout

Maryland and the United States.

                                  FACTUAL ALLEGATIONS

                                  PLAINTIFF’S EXPERIENCE

       23.     In November 2019, Plaintiff patronized Defendants’ Applebee’s restaurant located

at 6798 Reisterstown Road, Baltimore, Maryland 21215 (the “Reisterstown Applebee’s”), which

is approximately ten miles from Plaintiff’s residence.




                                                6
          Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 7 of 20



        24.     Plaintiff regularly visits restaurants, including Applebee’s restaurants, for dining

and to socialize with friends. The ability to independently patronize restaurants is important to

Plaintiff and her quality of life, serving as a critical social outlet for her.

        25.     Plaintiff desired to be served at the Reisterstown Applebee’s bar dining area, and

more specifically, desired to be served at and use the dining surfaces at the bar counter there. When

she requested to be seated in the bar dining area, a female employee told Plaintiff: “no, there is

nowhere in there that will accommodate you.”

        26.     Following this exchange, another employee intervened and attempted to seat

Plaintiff in the bar dining area, however Plaintiff could not be seated anywhere in the Reisterstown

Applebee’s bar dining area because Defendants have failed to provide accessible dining surfaces

at the bar counter for Plaintiff and others similarly situated to utilize and there is no other accessible

seating in the bar dining area. Defendants only offer inaccessible bar counters, raised booth seating,

or high-top tables, as depicted in the following images:




                                                    7
Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 8 of 20




           Figure 1 – Applebee’s, 6798 Reisterstown Road




                                8
         Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 9 of 20




                         Figure 2 – Applebee’s, 6798 Reisterstown Road

       27.     Because Plaintiff could not be seated in the bar dining area, Plaintiff was

subsequently seated in another area of the restaurant that had a table low enough to accommodate

her.

       28.     Though Plaintiff is serving as a tester in this case, Plaintiff has visited and enjoyed

Applebee’s restaurants in the past and would like to patronize Defendants’ restaurants, including

the Reisterstown Applebee’s, in the future and be served at the bar dining area; however, the lack

of accessible dining surfaces and seating in the restaurant’s bar dining area has deterred and

continues to deter Plaintiff from patronizing Defendants’ restaurants.




                                                 9
          Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 10 of 20



        29.     Plaintiff intends to continue to test Defendants’ restaurants.

        30.     Plaintiff has been, and in the absence of an injunction will continue to be, injured

by Defendants’ failure to provide accessible dining surfaces and seating to persons with mobility

disabilities.

                  DEFENDANTS’ RESTAURANTS ARE INACCESSIBLE

        31.     Defendants own, operate, lease, and/or control approximately 54 Applebee’s

restaurant franchises across Maryland, New Jersey, Delaware, and Pennsylvania.

        32.     In Maryland, Defendants own, operate, lease, and/or control approximately 11

Applebee’s restaurant franchises.

        33.     On information and belief, Defendants are responsible for the design, construction,

alteration, and operation of their franchised restaurants, including with respect to ADA

compliance.

        34.     On Plaintiff’s behalf, an investigation of multiple locations owned, operated, leased

and/or controlled by Defendants confirmed that, in addition to the -- Applebee’s discussed above,

other of Defendants’ restaurants also have bar dining surfaces that are not accessible to patrons

who use wheelchairs or scooters for mobility, and do not provide for accessible seating in the bar

dining area. Upon information and belief, the configuration and design of Defendants’ restaurants

follows a mandatory common design and construction plan, and most of Defendants’ restaurants

have the same inaccessible features identified above at the -- Applebee’s. Defendants’ inaccessible

restaurants include but are not limited to:

                a. 634 Baltimore Blvd, Westminster, Maryland 21157;

                b. 2141 Generals Hwy, Annapolis, Maryland 21401;

                c. 2408 Brandermill Blvd, Gambrills, Maryland 21054;




                                                 10
         Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 11 of 20



                 d. 6505 Baltimore National Pike, Catonsville, Maryland 21228;

                 e. 8610 LaSalle Road, Townson, Maryland 21286; and,

                 f. 8999 Ocean Gateway, Easton, Maryland 21601.

        35.      Defendants’ failure to provide individuals with mobility disabilities accessible

dining surfaces or accessible seating in the bar dining areas is discriminatory, segregationist, and

in violation of the ADA. Just as Defendants could not exclude customers from the bar dining area

based upon race, the ADA precludes Defendants from segregating customers based upon

disability.

        36.      Because Defendants’ restaurants are centrally owned, operated, and/or controlled

by Defendants, and are subject to the same common design and construction plans that result in

the discriminatory conditions found within the restaurants’ bar dining areas, the scope of harm at

issue in this matter can only be redressed through an injunction that encompasses the entirety of

Defendants’ network of restaurants and Defendants’ centralized policies and practices.

                                      CLASS ALLEGATIONS

        37.      Plaintiff brings this action under Rule 23(a) and (b)(2) of the Federal Rules of Civil

Procedure on behalf of herself and the following class:

              All individuals who use wheelchairs or scooters for mobility and who have
              been, or in the future will be, denied the full and equal enjoyment of bar dining
              services offered to patrons at any of Defendants’ restaurants located within
              Maryland that lack accessible dining surfaces and seating in the bar dining area.

        38.      Numerosity: The class described above is so numerous that joinder of all individual

members in one action would be impracticable. The disposition of the individual claims of the

respective class members through this class action will benefit both the parties and the Court, and

will facilitate judicial economy.




                                                   11
         Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 12 of 20



       39.      Typicality: Plaintiff’s claims are typical of the claims of the members of the class.

The claims of Plaintiff and members of the class are based on the same legal theories and arise

from the same unlawful conduct.

       40.      Common Questions of Fact and Law: There is a well-defined community of interest

and common questions of fact and law affecting members of the class in that they all have been

and/or are being denied their civil rights to full and equal access to, and use and enjoyment of,

Defendants’ goods, services and facilities due to the discriminatory conduct described above. The

questions of law and fact that are common to the class include:

       a. Whether Defendants operate places of public accommodation and are subject to

             Title III of the ADA and its implementing regulations;

       b. Whether Defendants’ restaurants’ bar dining areas are inaccessible to Plaintiff and

             putative class members; and,

       c. Whether Defendants’ policies and practices discriminate against Plaintiff and putative

             class members in violation of Title III of the ADA and its implementing regulations.

       41.      Adequacy of Representation: Plaintiff is an adequate representative of the class

because her interests do not conflict with the interests of the members of the class. Plaintiff will

fairly, adequately, and vigorously represent and protect the interests of the members of the class

and has no interests antagonistic to the members of the class. Plaintiff has retained counsel who

are competent and experienced in the prosecution of class action litigation, generally, and who

possess specific expertise in the context of class litigation under the ADA.

       42.      Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

Defendants has acted or refused to act on grounds generally applicable to the class, making

appropriate both declaratory and injunctive relief with respect to Plaintiff and the class as a whole.




                                                 12
         Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 13 of 20



                                         CAUSE OF ACTION

                            Violations of 42 U.S.C. §§ 12181, et seq.

       43.     Plaintiff incorporates by reference each and every allegation contained in the

previous paragraphs.

       44.     Plaintiff brings this claim individually and on behalf of the defined putative class

of individuals described above.

       45.     Plaintiff is an individual with a mobility disability who uses a wheelchair for

mobility. Plaintiff, accordingly, is an individual with a disability pursuant to the ADA, in that

Plaintiff has a physical impairment substantially limiting one or more major life activities.

42 U.S.C. § 12102(1)(A); 28 C.F.R. § 36.105.

       46.     Defendants are a public accommodation under the ADA. 42 U.S.C. § 12181(7).

                            Failure to Provide Accessible Facilities

       47.     The ADA requires all public accommodations that are designed and constructed

after January 16, 1993 to be readily accessible to, and independently usable by, individuals with

disabilities. 42 U.S.C. § 12183(a)(1).

       48.     Defendants’ restaurants, upon information and belief, were designed and

constructed after January 16, 1993, and were therefore required to be designed and constructed to

be readily accessible to, and independently usable by, individuals with disabilities.

       49.     The Department of Justice, pursuant to 42 U.S.C. § 12186(b), has promulgated the

ADA Accessibility Guidelines (“ADAAG”) in implementing Title III of the ADA. There are two

active ADAAGs that set forth the technical structural requirements that a public accommodation

must meet in order to be “readily accessible”: the 1991 ADAAG Standards, 28 C.F.R. § pt. 36,

App. D (“1991 Standards”), and the 2010 ADAAG Standards, 36 C.F.R. § pt. 1191, App. D (“2010




                                                13
         Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 14 of 20



Standards”).

       50.     Defendants’ facilities must comply with either the 1991 Standards or the 2010

Standards, depending on when a given facility was constructed.2

       51.     Defendants provide bar counter dining surfaces in their restaurants, at which they

provide the service of food and drink for customer consumption.

       52.     The 1991 Standards set forth express requirements for restaurants with respect to

the accessibility of dining surfaces, such as a bar counter: “Where food or drink is served at

counters exceeding 34 inches (865 mm) in height for consumption by customers seated on stools

or standing at the counter, a portion of the main counter which is 60 inches (1525 mm) in length

minimum shall be provided in compliance with § 4.32 or service shall be available at accessible

tables in the same area.” 1991 Standards § 5.2.

       53.     For Defendants’ restaurants that were required to be constructed in compliance with

the 1991 Standards, Defendants’ restaurants’ bar dining areas do not comply with the 1991

Standards, because:

               a. Defendants do not provide a portion of the bar counter which is 34 inches or
                  less in height;

               b. Defendants do not provide a portion of the bar counter which is 60 inches in
                  length that complies with Section 4.32 of the 1991 Standards; and


2 28 C.F.R. § 36.406 establishes the circumstances that determine which ADAAG applies to
facilities subject to 28 C.F.R. §§ 36.401 or 36.402: (1) facilities shall comply with the 1991
Standards if the date when the last application for a building permit is before September 15, 2010,
or if no permit is required, if the start of physical construction or alterations occurs before
September 15, 2010 (28 C.F.R. § 36.406(a)(1)); (2) facilities shall comply either with the 1991
Standards or with the 2010 Standards if the date when the last application for a building permit is
on or after September 15, 2010, and before March 15, 2012, or if no permit is required, if the start
of physical construction or alterations occurs on or after September 15, 2010, and before March
15, 2012 (28 C.F.R. § 36.406(a)(2)); and (3) facilities shall comply with the 2010 Standards if the
date when the last application for a building permit is on or after March 15, 2012, or if no permit
is required, if the start of physical construction or alterations occurs on or after March 15, 2012
(28 C.F.R. § 36.406(a)(3)).

                                                  14
         Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 15 of 20




               c. Defendants do not provide service at accessible tables in the same area as the
                  bar counter.

       54.     The dining surface accessibility requirement was modified in the 2010 Standards

to provide: “Where dining surfaces are provided for the consumption of food or drink, at least 5

percent of the seating spaces and standing spaces at the dining surface shall comply with §902.”

2010 Standards § 226.1 (emphasis added). “Dining surfaces” explicitly includes “bars, tables,

lunch counters, and booths.” 2010 Standards § 902.1 - Advisory.

       55.     Section 902 provides that the top of a dining surface shall be 28 inches minimum

and 34 inches maximum above the floor, and provide a clear floor space positioned for a forward

approach with appropriate knee and toe clearance. 2010 Standards §§ 902.2-3.

       56.     The 2010 Standards no longer provides an exception if service is available at

accessible tables in the same area as an inaccessible dining surface. Instead, dining surfaces that

are required to comply with Section 902 “shall be dispersed throughout the space or facility

containing dining surfaces. . . .” 2010 Standards § 226.2.

       57.     For Defendants’ restaurants that were required to be constructed in compliance with

the 2010 Standards, Defendants’ restaurants’ bar dining areas do not comply with the 2010

Standards because there is no provision for five percent of the seating spaces and standing spaces

at the bar counter to comply with Section 902 of the 2010 Standards; indeed, none of the seating

and/or standing spaces at the bar counter and in the bar dining area comply with Section 902.

       58.     The lack of accessible bar counters and seating in Defendants’ restaurants

demonstrates that Defendants’ restaurants were not designed and constructed to be readily

accessible to, and independently usable by, individuals with mobility disabilities, although it was

structurally practicable for Defendants to do so.




                                                15
          Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 16 of 20



                        Denial of “Full and Equal” Enjoyment and Use

         59.    The ADA requires that “[n]o individual shall be discriminated against on the basis

of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, or accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a).

         60.    Defendants discriminated and continue to discriminate against Plaintiff and others

similarly situated by denying “full and equal” enjoyment and use of the goods, services, facilities,

privileges, advantages, and accommodations of Defendants’ restaurants during Plaintiff’s visit and

each incidence of deterrence.

                         Failure to Provide the Most Integrated Setting

         61.    Public accommodations are required to provide their goods, services, facilities, and

accommodations “in the most integrated setting appropriate to the needs of the individual.”

42 U.S.C. § 12182(b)(1)(B).

         62.    The Department of Justice defines the “most integrated setting” as “a setting that

enables individuals with disabilities to interact with non-disabled persons to the fullest extent

possible.”3

         63.    Defendants have failed to provide the most integrated setting appropriate to the

needs of Plaintiff and those similarly situated by limiting the areas and options for where Plaintiff

may choose to eat and/or drink, resulting in a setting that segregates and separates individuals with

mobility disabilities, preventing them from interacting with non-disabled individuals to the fullest

extent possible.




3   https://www.ada.gov/olmstead/q&a_olmstead.htm

                                                 16
         Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 17 of 20



                Failure to Modify Existing Policies, Practices, and Procedures

        64.     The ADA requires reasonable modifications in policies, practices, or procedures

when necessary to afford goods, services, facilities, or accommodations to individuals with

disabilities, unless the public accommodation can demonstrate that making such modifications

would fundamentally alter their nature. 42 U.S.C. § 12182(b)(2)(A)(ii).

        65.     By failing to provide accessible dining surfaces and seating, Defendants have

engaged, directly, or through contractual, licensing, or other arrangements, in illegal disability

discrimination by failing to make reasonable modifications in policies, practices, or procedures

where necessary to afford services, privileges, advantages, or accommodations to individuals with

mobility disabilities.

        66.     Defendants have no policy, practice, or procedure, or else Defendants failed to

create, implement, and maintain policies, practices, and procedures, to ensure individuals with

mobility disabilities are not denied the opportunity to have the same dining experience at their

restaurants as individuals without disabilities, resulting in a denial of the opportunity for

individuals with mobility disabilities to have full and equal access to all of the goods, services,

privileges, advantages, and accommodations that make up Defendants’ restaurants.

        67.     Defendants have further failed to create, implement, and maintain policies,

practices, and procedures to comply with ADA building design and construction regulations and

standards.

        68.     A reasonable modification in the policies, practices, and procedures described

above will not fundamentally alter the nature of Defendants’ goods, services, facilities, privileges,

advantages, and accommodations.




                                                 17
         Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 18 of 20



       69.     Defendants’ ongoing and continuing violations of the ADA have caused, and, in

the absence of an injunction, will continue to cause harm to Plaintiff and those similarly situated.

       70.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       a.      A Declaratory Judgment that at the commencement of this action Defendants were

in violation of the specific requirements of Title III of the ADA described above, and the relevant

implementing regulations of the ADA, in that Defendants failed to take action reasonably

calculated to ensure that Defendants’ dining surfaces and seating were fully accessible to, and

independently usable by, individuals with mobility disabilities;

       b.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs:

               i.      Defendants to take all steps necessary to bring their restaurants’ bar dining

areas into full compliance with the requirements set forth in the ADA, and its implementing

regulations, so that the dining surfaces are fully accessible to, and independently usable by,

individuals with disabilities;

               ii.     Defendants to take all steps necessary to bring their restaurants’ bar dining

areas into full compliance with the requirements set forth in the ADA, and its implementing

regulations, so that the bar dining areas contain the requisite amount of accessible seating;

               iii.    Defendants to take all steps necessary to modify their policies, practices,

and procedures to ensure that individuals with mobility disabilities are not denied the opportunity

to have the same dining experience at Defendants’ restaurants as individuals without disabilities,




                                                 18
         Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 19 of 20



so that no individual with a mobility is denied the opportunity to have full and equal access to all

of the goods, services, privileges, advantages, and accommodations that make up Defendants’

restaurants;

               iv.     Defendants to take all steps necessary to modify their policies, practices,

and procedures to ensure that Defendants’ restaurants’ bar dining areas comply with the ADA’s

building design and construction regulations and standards; and,

               v.      The Court shall retain jurisdiction for a period to be determined to ensure

that Defendants have undertaken steps to remediate their restaurants and have adopted and are

following an institutional policy and practice that will in fact cause Defendants’ restaurants to

comply with the ADA.

       c.      An Order certifying the proposed class, naming Plaintiff as the representative of the

class, and designating counsel for Plaintiff as class counsel;

       d.      Payment of costs and reasonable attorneys’ fees as provided for by law, and/or

nominal damages; and

       e.      Such other additional or alternative relief as the Court finds just and proper.




                                                 19
       Case 1:19-cv-03454-ADC Document 1 Filed 12/03/19 Page 20 of 20



Dated: December 3, 2019                   Respectfully submitted,


                                          /s/ E. David Hoskins
                                          E. David Hoskins, Esq., No. 06705
                                          The Law Offices of E. David Hoskins, LLC
                                          16 East Lombard Street, Suite 400
                                          Baltimore, Maryland 21202
                                          (410) 662-6500 (Tel.)
                                          davidhoskins@hoskinslaw.com

                                          /s/ Kathleen P. Hyland
                                          Kathleen P. Hyland, Esq., No. 30075
                                          Hyland Law Firm, LLC
                                          16 East Lombard Street, Suite 400
                                          Baltimore, Maryland 21202
                                          (410) 777-5396 (Tel.)
                                          kat@lawhyland.com

                                          /s/ R. Bruce Carlson
                                          R. Bruce Carlson, No. 29344
                                          bcarlson@carlsonlynch.com
                                          Kelly K. Iverson*
                                          kiverson@carlsonlynch.com
                                          Bryan A. Fox*
                                          bfox@carlsonlynch.com
                                          CARLSON LYNCH, LLP
                                          1133 Penn Ave., 5th Floor
                                          Pittsburgh, PA 15222
                                          Tel: (412) 322-9243
                                          Fax: (412) 231-0246

                                          Patrick W. Michenfelder*
                                          Chad Throndset*
                                          THRONDSET MICHENFELDER, LLC
                                          Cornerstone Building
                                          One Central Avenue West, Suite 203
                                          St. Michael, MN 55376
                                          Tel: (763) 515-6110
                                          Fax: (763) 226-2515
                                          pat@throndsetlaw.com
                                          chad@throndsetlaw.com

                                          *Admission for pro hac vice forthcoming.

                                          Attorneys for Plaintiff



                                     20
